                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JULIA GRAVES,                 )
as Administratrix of the      )
Estate of Uniece Fennell,     )
Deceased,                     )
                              )
     Plaintiff,               )
                              )               1:19CV316
     v.                       )
                              )
CLARENCE BIRKHEAD, Sheriff,   )
Durham County,                )
                              )
MICHAEL D. ANDREWS, Former    )
Sheriff, Durham County,       )
                              )
WELLPATH,                     )
                              )
MICHELLE HENDERSON, former    )
Correctional Officer,         )
Durham Co. Detention          )
Facility,                     )
                              )
FNU JACKSON, Sergeant,        )
Durham Co. Detention          )
Facility,                     )
                              )
FNU TAYLOR, Correctional      )
Officer, Durham Co. Detention )
Facility                      )
                              )
TANISHA STRIPLING,            )
Correctional Officer,         )
Durham Co. Detention          )
Facility,                     )
                              )
DURHAM COUNTY,                )
                              )
TRAVELERS CASUALTY AND        )
SURETY COMPANY OF AMERICA,    )
                As Surety     )
                              )
     Defendants.              )
                              )




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                                       ORDER

      This matter is before the court on the Parties’ Joint Motion

for Approval of Settlement Agreement.                 (Doc. 2.)

       This case arises out of the death of Uniece Fennell, a minor,

on March 23, 2017, while in the custody of the Durham County

Detention Facility.           Plaintiff Julia Graves is the decedent’s

surviving parent and duly appointed Administratrix of her estate.

On March 21, 2019, Plaintiff Julia Graves, as Administratrix of

the   Estate    of   Uniece    Fennell,       filed    this    wrongful    death   and

survivorship action, alleging that Uniece Fennell died as a result

of Defendants’ deliberate indifference.

      The parties represent that they have engaged in a good faith

pre-filing mediated settlement conference and have arrived at a

mutually-agreeable       settlement       that        is    fair   and    reasonable.

However, they have not provided any explanation of the factors

that support that conclusion that would allow the court to make an

independent determination.

      Therefore, the parties are directed to supplement their Joint

Motion for Approval of Settlement Agreement with an explanation of

the   factors    they   believe      support     the       determination    that   the

settlement,     including      the    settlement           amount,   is    fair    and

reasonable.     They should include a discussion of the strengths and

weaknesses of the claims, as well as any other factor that supports



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their conclusion.   Such supplement should be filed within fourteen

(14) days of this Order.

     SO ORDERED.

                                           /s/   Thomas D. Schroeder
                                        United States District Judge


April 2, 2019




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